                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )    No. 3:11-00012-25
v.                                             )    Judge Sharp
                                               )
JAMES FARLEY, JR.                              )
                                               )


                                          ORDER


        A change of plea hearing in this matter is hereby scheduled for Thursday, April 25, 2013,

at 1:30 p.m.

       IT IS SO ORDERED.



                                                    ________________________________
                                                    KEVIN H. SHARP
                                                    UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00012       Document 1454        Filed 04/24/13     Page 1 of 1 PageID #: 6945
